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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

  ---------------------------------------------------------X
   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD., plaintiff,
                                                                  Case No. 21-60125-Civ-Scola/Strauss
       -against-

   CIRCUITRONIX LLC, defendant.
  ----------------------------------------------------------X




                 Joint Motion for 30-Day Stay of Proceedings to Allow the Parties to
                                  Formalize Settlement Agreement




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          This motion is made on consent of the parties. Plaintiff Benlida 1 and defendant

  Circuitronix, LLC reached an agreement in principle to settle this matter during mediation

  yesterday, June 1st, before mediator Joseph Farina, subject to formalization of the terms. [DE 80

  - FINAL MEDIATION REPORT by Hon. Joseph P. Farina]. As Benlida (a Chinese

  manufacturer of printed circuit boards) and Circuitronix, LLC have, throughout this litigation

  continued to do business together, notwithstanding this commercial dispute that was brought

  before the court, and as a new manufacturing agreement needs to be entered into as part of the

  settlement agreement that will govern their future relationship (with a view to avoiding the

  problems that gave rise to this lawsuit), the parties expect that it may take several weeks to

  completely formalize the settlement agreement.

          Once the settlement is formally documented in full, the parties intend to file a joint

  stipulation of dismissal of this case.

          Of course, counsel will endeavor to formalize the settlement and new manufacturing

  agreements expeditiously, which will be complicated somewhat by the fact that Benlida is based

  in China, and so each draft of the documents will involve an extra day for turn-around.

          Given the fact that the parties have agreed to settle this case, it would be a significant

  waste of the time and resources of the parties and the Court if the case continues unabated on the

  current schedule. The deadline for completion of discovery and expert reports is set for June 24,

  2022. Several unresolved discovery motions are pending before the Court, and multiple

  witnesses are scheduled to be deposed over the next 30 days, including multiple witnesses who

  reside in China. Granting this request for a 30-day stay, to formalize the settlement and dismiss

  the action, will alleviate the need for the parties to expend significant resources on legal and


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    In this motion, plaintiff employs the same abbreviations as previously used in the course of this
  litigation.
                                                       2
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  expert fees dedicated to these tasks, and the interruptions caused by depositions of their

  executives (all of which should be unnecessary in light of the settlement). In addition, granting

  the stay will remove the burden on the Court of considering and resolving the pending discovery

  motions, all of which will become moot once the case is dismissed.

         As there are hundreds of thousands of pages of documents that have been exchanged in

  discovery, and each of the parties (who have retained experts to review the documents) wish to

  avoid further – and quite substantial – litigation expenses, we request that a stay be issued

  immediately, so that we can instruct our respective experts to postpone further work at this time,

  and the parties can focus our efforts on bringing about a resolution of the action.

                                              Conclusion
         Accordingly, it is respectfully requested that the court issue an order staying all

  proceedings for thirty days.

                                             Certification
         Counsel defendant CTX joins in this motion.


  Dated: New York, New York
         June 2, 2022                                  Respectfully submitted,

                                                       MAZZOLA LINDSTROM LLP
                                                       By: /s/ Jean-Claude Mazzola
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                                        Certificate of Service
  I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of Notices
  of Electronic Filing generated by CM/ECF on June 2, 2022 as filed with the Clerk of the Court using
  CM/ECF.
                                       By: /s/ Jean-Claude Mazzola


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